
702 S.E.2d 794 (2010)
STATE of North Carolina
v.
Kerry Jarrod PETTIGREW.
No. 277A10.
Supreme Court of North Carolina.
October 7, 2010.
Michael Casterline, Asheville, for Kerry Jarrod Pettigrew.
Jane Thompson, Assistant Attorney General, for State of N.C.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant-Appellant on the 2nd of July 2010 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Dismissed by order of the Court in conference, this the 7th of October 2010."
